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                    EXHIBIT 1
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                                   Declaration of Suneel Chakravorty


      1. The Defendants in their response, Raniere v. Garland, 22-cv-561, Doc. 14, allege my
          conduct with Mr. Raniere, while he was incarcerated at the Metropolitan Detention
          Center in Brooklyn, New York, threatened the security of the institution.
      2. The Defendants allege that Mr. Raniere and I “were endangering the security of the
          facility and the public by organizing “a group of women to show up regularly and dance
          provocatively for inmates to view through their cell windows, and that Mr. Raniere
          directed Suneel [Chakravorty] to contact more women” to “danc[e] erotically” which led
          to a request for Plaintiff to be moved to another housing unit. (Id.)” Doc. 14 at 4:23-27.
      3. I was the Captain of the Harvard Ballroom Dance Team, so I have a familiarity with
          dancing.
      4. My friends and I began what I would call “a dance movement,” called The Forgotten
          Ones, to attempt to uplift the spirits of the adults in custody at MDC. Like Mr. Raniere,
          they had not been permitted in-person visitation in months due to COVID-19 and,
          because of the COVID-19 lockdown, had to spend most of their days in their cells.
      5. As a dancer in college, I have come to view dancing as a form of communication and
          peaceful expression and not as something intimidating.
      6. Our small group publicized and live-streamed our nightly dances on Instagram.
      7. Sometimes, family members of adults in custody and other interested individuals joined
          us in dancing but our numbers were small.
      8. Sometimes when family members could not attend in person, they would join on the
          Instagram live-stream and ask us to wave at their loved one with a flashlight or create a
          sign for them to see an expression of their love.
      9. On one occasion, a Correctional Officer finishing his shift danced with us briefly before
          driving home.1




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    See a video clip here: https://www.instagram.com/p/CEuE-rzD_mF/


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10. A Brooklyn based media outlet, BKReader, wrote about the dancing movement. Below is
   an excerpt:
   “Former Nxivm teacher Eduardo Asunsolo, Nxivm member Nicki Clyne, Michele
   Hatchette and Suneel Chakravorty have been dancing outside the prison from 8:00pm –
   9:00pm every night since July 3.
   The dance parties started out of an inside joke between Clyne and Raniere one night,
   when she was visiting him from outside the prison. “One of my party tricks is doing a
   moonwalk,” Clyne said. “So I did a moonwalk, and a bunch of guys started banging on
   their windows.”
   That evolved into a nightly show where the team directs prisoners with a sign to tune into
   97.1 FM, puts on their car stereo and dances to the windows above. Clyne would also take
   calls and email from inmates, learning about their isolation and conditions on the inside.
   On July 7, the group also launched a The Forgotten Ones’ website, with a mission
   statement.

11. Below is an excerpt from a call Mr. Raniere and I had on July 5, 2020, transcribed by
    Rev.com, in which we discussed the dancing movement:
    Mr. Raniere: I really like that you guys come, and I hope it's good for you. I think if we
    could make this into a good non-for-profit sort of a thing, a volunteer thing, I think you
    could get more depth, and I think it lifts up the spirits of people watching, you know?Mr.
    Chakravorty: Yeah, definitely. For us, as well, it's uplifting, too. It feels like we're de-
    erasing a bunch of people and reconnecting. Like we see them – the erasism thing. Mr.
    Raniere: Yeah. I think you should write up a little mission statement for it, maybe have a
    little website where people can find information, sign up, or whatever, and starting with
    MDC, eventually, I mean, if you did it right and passed it on to someone who could
    coordinate it well, they could do for all the different centers.

12. The Defendants wrote, “Plaintiff also informed Mr. Chakravorty about “the staff work
   schedules and indicated his protesters should wait outside for the staff and offer donuts
   and coffee as they exit the facility.” (Id.) (internal quotation marks omitted)” Doc. 14 at
   4:27-5:1.
13. The purpose of the one occasion where we offered coffee and donuts was meant to a
   gesture of kinship. We wished to show that our presence to dance was not adversarial but




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   an acknowledgement that we share the same humanity, with all its joys and fears, and a
   common desire to lessen man’s “inhumanity to man.”
14. Below is an excerpt from my call on July 11, 2020, with Mr. Raniere, the context of
   which makes clear our intention was to help and not fight, to bring harmony and not
   dissension.

   Mr. Raniere: Now, an interesting thing you may want to consider: Everyone is locked in
   here between 3:30 and 5. They do count at 4. Count doesn't take very long and they just
   need to see people standing up or whatever. They'd be standing up with the lights on,
   looking out the window, if you guys are performing, it might be the time when you can
   get everyone in their cell. And there's also a nice thing if the COs, when they get off duty,
   want to watch it, they get off duty at 4, you know what I mean? The shifts go 8 to 4, 4 to
   12, 12 to 8 ––

   Recorded Message: This call is from a federal prison.

   Mr. Raniere: Now, I don't know if everyone's shifts are like that, but that's what the COs
   shifts are. So at four o'clock you have all these COs coming out and going off duty and
   you might get a few to watch.

   Mr. Chakravorty: Yeah.

   Mr. Raniere: And they might come to understand it better, and, you know, it's for them
   too. We're all in this together.

   Mr. Chakravorty: Yeah, definitely. I mean, some of them have been pretty nice to us, like
   they -- one of the guys moved his car so that we would have more space to dance. And
   we tried to give some of them donuts and coffee yesterday. They were very grateful, but
   they refused because they technically can't accept anything like that.

   Mr. Raniere: Right.

   Mr. Chakravorty: But they seem very appreciative. So we feel that.

   Mr. Raniere: Right, well, when they go off duty, it depends on, I don't know their
   guidelines or ethics with respect to accepting. I could certainly understand not accepting
   anything when you're on guard because, one, you don't know what's in it. You know what
   I mean? And it could be something very bad like that. But once they're off guard and off
   property, so to speak, maybe they could. And it is harmless stuff, you know?

   Mr. Chakravorty: Yeah.

15. The Counter Terrorism Unit (CTU) concluded, “[Plaintiff’s] manipulative behavior
   continues to manifest from behind the prison through the help of Suneel Chakravorty.



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      [Plaintiff’s] actions would place the safety and security of staff and the public at risk.”
      (Id., p. 12.) Doc. 14 at 5:3-5.
   16. It may have been naïve to dance outside a prison and, on one singular occasion, offer
      coffee and donuts to guards and other members of the staff, and think this would be
      interpreted in the spirit it was meant. Yet in our intent to make the world a trifle less
      harsh, we learned something, and perhaps, during the long months of COVID, we
      provided a bit of hope to the adults in custody – most of whom were pretrial detainees
      and faced an uncertain future – that when they did return to the world outside the bars of
      prison that there were those who would still consider them fellow sojourners in the
      journey we must all travel, the saint and sinner, the prisoner and guard, the judge,
      prosecutor and jury, and all of us.

   17. I declare under penalty of perjury of the laws of the United States of America that the
      foregoing is true and correct to the best of my knowledge.




Executed on February 24, 2023




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Suneel Chakravorty




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